Case 3:15-cv-00898-RJD Document8 Filed 10/07/15 Page1lof1i3 Page ID #29

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‘ecg >”: UNITED STATES DisTRICT COURT
. tC a for the
Southern District of linois

Case Number: = (5-Cul-AOE? 27 Sry

 

 

 

 

(Clerk’s Office will provide)
Plaintiff/Petitioner(s) CIVIL RIGHTS COMPLAINT
Vv. pursuant to 42 U.S.C. §1983 (State Prisoner)

O CIVIL RIGHTS COMPLAINT

pursuant to 28 U.S.C. §1331 (Federal Prisoner)

é O CIVIL COMPLAINT os

wtocdess Hilliecd | Cs x Meacetten pursuant to the Federal Tort Claims Act,. oS

Worle Lee Defendant/Respondent(s) 28 US.C. §§1346, 2671-2680, or other law a Ze
nae Leslie MOCO y ZAG

Wevtacd Heath
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Plaintiff: \Susas ne, ‘’ O\ ersat \ SD

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Defendant #1:
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B. Defendant _\ ‘ - ViwSar > is employed as
(a) (Name of First Defendant)
Arcs et
CoCcecsianal Creutenent
(b) (Position/ Title)

with Vizanq Cactectinat Ce gies
(c) (Employer’s Name and Address)

 

At the time the claim(s) alleged this complaint arose, was Defendant #1
employed by the state, local, or federal government? “Yes No

If your answer is YES, briefly explain:

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Case 3:15-cv-00898-RJD Document8 Filed 10/07/15 Page 2of13 Page ID #30

Of | 7 Defendant #2:

 

NO “he alee
C. Defendant_L)K. ~SO WTO) is employed as
(Name of Second Defendant)

Cavtract Doctee foc Do
(Position /Title)

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with Wie XK OCA rt ect th

(Employer's Name and Address)

 

At the time the claim(s) alleged in this complaint arose, was Defendant #2
employed by the state, local, or federal government? @ Yes No

If you answer is YES, briefly explain:

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Additional Defendant(s) (if any):

D. Using the outline set forth above, identify any additional Defendant(s).

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I. PREVIOUS LAWSUITS

A.

(Rev. 7/2010)

Have you begun any other lawsuits in state or federal court relating to
your imprisonment? TAYes No

If your answer to “A” is YES, describe each lawsuit in the space below. [f
there is more than one lawsuit, you must describe the additional lawsuits
on another sheet of paper using the same outline. Failure to comply with

this provision may result in summary denial of your complaint.

1. Parties to previous lawsuits:
Plaintiff(s): iy Med € Col o At nr

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Defendant(s): ! 9 (CavSnaerC, er @

2. Court (if federal court, name of the district; if state court, name of
the county): Ceviig\ Dshice ©€ Diiino’s

3. Docket number: / 5 15-CV-Ol3U-CS B
4. Name of Judge to whom case was assigned: ("| -, Siecli(.4 Kliit¢
5: Type of case (for example: Was it a habeas corpus or civil rights

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action?): 01); 1 CAs OChisn,

6. Disposition of case (for example: Was the case dismissed? Was it
appealed? Is it still pending?):

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i. Approximate date of filing lawsuit: ~7 ~ } 0 - / Ss

8. Approximate date of disposition: ){ [A
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Ul. GRIEVANCE PROCEDURE

(Rev. 7/2010)

Is there a prisoner grievance procedure in the institution? MYes No

Did you present the facts relating to your complaint in the prisoner
grievance procedure? Yes ONo

If your answer is YES,
1. What steps did you take?

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2. What was the result?
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If your answer is NO, explain why not.
If there is no prisoner grievance procedure in the institution, did you
complain to prison authorities? Yes ONo

If your answer is YES,
1. What steps did you take?

2. What was the result?

If your answer is NO, explain why not.

Attach copies of your request for an administrative remedy and any
response you received. If you cannot do so, explain why not:
Case 3:15-cv-00898-RJD Document8 Filed 10/07/15 Page6of13 Page ID #34

6 ee 11
IV. STATEMENT OF CLAIM

A. _ State here, as briefly as possible, when, where, how, and by whom you feel
your constitutional rights were violated. Do not include legal arguments of
citations. If you wish to present legal arguments or citations, file a separate
memorandum of law. If you intend to allege a number of related claims,
number and set forth each claim in a separate paragraph. If your claims
relate to prison disciplinary proceedings, attach copies of the disciplinary
charges and any disciplinary hearing summary as exhibits. You should also
attach any relevant, supporting documentation.

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Mi REQUEST FOR RELIEF

State exactly what you want this court to do for you. If you are a state or federal
prisoner and seek relief which affects the fact or duration of your imprisonment (for
example: illegal detention, restoration of good time, expungement of records, or
parole), you must file your claim on a habeas corpus form, pursuant to 28 U.S.C.
§§ 2241, 2254, or 2255. Copies of these forms are available from the clerk’s office.

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VI. JURY DEMAND (check one box below)

The plaintiff r does © does not request a trial by jury.
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DECLARATION UNDER FEDERAL RULE OF CIVIL PROCEDURE 11

I certify to the best of my knowledge, information, and belief, that this complaint is in full
compliance with Rule 11(a) and 11(b) of the Federal Rules of Civil Procedure. The
undersigned also recognizes that failure to comply with Rule 11 may result in sanctions.

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Signed on: Khe Lite | (Lantin—
(date) Signature of Plaintiff

Lykucne Colemon
Street Address Printed Name

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IMAIA3
City, State, Zip Prisoner Register Number
Signature of Attomey (if any)

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Corrections

Acting Director

     
 

4301 Concordia Court / P.O. Box 19277 / Springfield IL 62794-9277 / Telephone: (217) 558-2200 / TDD: (800) 526-0844
July 16, 2015

Dwaine Coleman
Register No. B62923
Pontiac Correctional Center

Dear Mr. Coleman:

This is in response to your grievance received on February 19, 2015, regarding a disciplinary report dated
December 25, 2014, which was alleged to have occurred at Vienna Correctional Center. This office has
determined the issue will be addressed without a formal hearing.

This office has reviewed your grievances dated December 26, 2014 and February 8, 2015 wherein you claim
C/O Schach lied about seeing the milk carton being thrown and where your witnesses were not documented
on the disciplinary report. You request to be released from segregation, returned to grade, compensated for
every day illegally confined, and a transfer to Dixon CC or Graham CC.

This office reviewed the disciplinary report written on December 25, 2014 by C/O Schach citing you for the
offenses of 206 — Intimidation Or Threats, 304 — Insolence and 402 — Health, Smoking and Safety Violations;
along with the corresponding Adjustment Committee’s Final Summary Report (#201404801/1 - VIE)

Based on a total review of all available information and a compliance check of the procedural due process
safeguards outlined in DR504, this office is reasonably satisfied the offender committed the offenses and
recommends the grievance be denied. An award of monetary compensation is outside the scope of the
ARB. It is noted that due to disciplinary issues, Offender was transferred to Pontiac CC on 1/14/15.

FOR THE BOARD: ci YY, 4b

hie McCarty /
Administrative Review Board,
Office of Inmate Issues

   

CONCURRED:

 

cc: Warden, Pontiac Correctional Center
Dwaine Coleman, Register No. B62923
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"> abe 5 18:Bi06898-RID Document 8 Filed 10/07/15 Page 11 of 13 |
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EX Lt fs B- \\-15 (Please Print) Sy uaiee.C olertian ACAIK3.
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NATURE OF GRIEVANCE: ~
CJ Persona! Property [J MailHandiing (0 Restoration of Good Time 1] ADA Disability Accommodation
O Staff Conduct C1 Dietary C1 Medical Treatment C0 HIPAA sb
(J) Transfer Denial by Facility ] Transfer Denial by Transfer Coordinator “ET Other tape). LUC Vial es
Cock ptron ( rtisCond CC:
(1 Disciplinary Report: ! {
. Date of Report : Facility where issued

Note: Protective Custody Denials may be grieved Immediately via the local administration on the protective custody status notification.

Complete: Attach a copy of any pertinent document (such as a Disciplinary Report, Shakedown Record, otc.) and send to:

Counselor, unless the issue involves discipline, Is deemed an emergency, or is subject to direct review by the Administrative Review Board.
Grievance Officer, only if the issue involves discipline at the present facility of Issue not resolved by Counselor.
Chiet Administrative Officer, only if EMERGENCY grievance. a
Administrative Review Board, only if the issue involves transfer denlal by the Transfer Coordinator, protective custody, Involuntary

_- administration of psychotropic drugs, issues from another facility except personal property issues, or Issues not resolved by the Chief
Administrative Officer.

Summary of Grievance (Provide Information including a description of what happened, when and where It happened, and the name or identifying Information"
for each peraén Involved):
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og Check only if this is an EMERGENCY grievance due to a substantial risk of imminent personal injury or other serious or Irraparable harm to self,

Una hr WEEE Bs LS

 

Offender's Signature iDe
i {Continue on reveree side if necessary)

 

 

| Counselor's Response (It applicable} |

 

 

 

 

 

 

 

 

 

 

 

‘| Date
Recelved: ] Send directly to Grievance Officer (C1 Outside Jurisdiction of this facility. Send to
Administrative Review Board, P.O. Box 19277,
Springfield, IL 62794-9277 :
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Print Counselor's Name ‘Counselor's Signature Date of Response
EMERGENCY REVIEW |
Date: ;
Recelved: i i Is this determined to be of an emergency nature? [C] Yes; expedite emergency grievance

[C1 No; an emergency is not substantiated.
Offender should submit this grievance
In the nonmal manner.

ae

Chiet Administrative Officer's Signature . : Date

 

 

 

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